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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                                                       ORDER SETTING CONDITIONS
                    V.                                                                                        OF RELEASE

 Abran Raya Leon                                                                                   Case Number: 3:20CR00520-SI-2

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)     The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.
(2)     The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C § 14135a.
(3)     The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
        address and telephone number.
(4)     The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
        The defendant shall next appear as directed by U.S. District Court.

                                                  Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
        • Report as directed by the U.S. Pretrial Services Office.
        • Do not change place ofresidence without the prior approval of U.S. Pretrial Services.
        • Travel is limited to Oregon unless prior approval is obtained from U.S. Pretrial Services.
        • Do not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. Section 802, unless
           prescribed by a licensed medical practitioner. This provision does not permit the use or possession of medical marijuana
           even with a physician's written certification. The defendant is prohibited from using or possessing any synthetic
           intoxicating substance, including but not limited to "Spice", "K-2" and other forms of synthetic marijuana
        • Do not use, possess, or consume alcohol.
        • The defendant shall submit to testing for a prohibited substance if required by the pretrial services office or supervising
           officer. Testing may be used with random frequency and may include urine testing, the wearing of a sweat patch, a
           remote alcohol testing system, and/or any form of prohibited substance screening or testing. The defendant must not
           obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance screening or testing.
        • Participate in drug/alcohol assessment and undergo counseling as directed by U.S. Pretrial Services.
        • Participate in one of the following location restriction programs and comply with its requirements as directed.
           () Curfew. You are restricted to your residence every day (       ) from ____ t o - - - ~ or (              ) as directed by
           the pretrial services office or supervising officer; or
           (X) Home Detention. You are restricted to your residence at all times except for employment; education; religious
           services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
           obligations; or other activities approved in advance by the pretrial services office or supervising officer;
           () Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities
           and court appearances or other activities specifically approved by the court.
           () Stand Alone Monitoring. You have no residential curfew restrictions. However, you must comply with the location
           or travel restrictions as imposed by the court. Note: This component should be used in conjunctions with global
           positioning system (GPS) technology.
        • Submit to the following location monitoring technology and comply with its requirements as directed.
           ( ) Location monitoring technology as directed by the pretrial services or supervising officer
           () Voice Recognition
           ( ) Radio Frequency (RF)
           (X) GPS
        • Pay all or part of the cost of location monitoring based on your ability to pay as determined by the pretrial services or
           supervising officer.
        • The defendant shall not have direct or indirect contact with the following named persons: co-defendant (Misty May
           Gamble)
        • The defendant shall not drive a motor vehicle.



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                                                        Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

           The co=ission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in
addition to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to
intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or
to threaten or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;
(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than
          $250,000 or imprisoned for no more than five years, or both;
(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;
(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.




                                                            Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                             Signature of Defendant

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Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
~       Alcohol detection
~       Drug detection
D       Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
•       The defendant is ORDERED released after processing.
•       The defendant is ORDERED temporarily released.

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      The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
      judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
      availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
      produced before the duty Magistrate Judge on _ _ _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ _ _ _ _ __


        July 16, 2021
Date: - - - - - - - -
                                                                                                         JVA
                                                                                      Signature of Judicial Officer
                                                                                           John V. Acosta
                                                                                         U.S. Magistrate Judge
                                                                                   Name and Title ofJudicial Officer



cc:   Defendant
      US Attorney
      US Marshal
      Pretrial Services




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